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EXHIBIT B
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RHODE ISLAND DEPARTMENT OF CORRECTIONS

 

 

 

 

 

 

 

POLICY AND PROCEDURE
POLICY NUMBER: | EFFECTIVE DATE:
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SUPERCEDES: DIRECTOR: Please use BLUE ink.
11.01-6 DOC fe Vprie
SECTION: SUBJECT:
RULES AND DISCIPLINE CODE OF INMATE DISCIPLINE

 

AUTHORITY: Rhode Island General Laws (RIGL) § 42-56-10(22), Powers of the
director; § 42-56-1, Declaration of powers; § 42-56-24, Earned time for good behavior or
program participation or completion

 

REFERENCES: Wolff v. McDonnell, 418 U.S. 539 (1974); ACA standards 4-4226
through 4-4229 (rules of conduct), 4-4230 (resolution of minor infractions), 4-4231
(criminal violations), 4-4232 and 4-4245 (disc. rpts.), 4-4234 through 4-4237 (pre-hearing
action), 4-4238 through 4-4243 (disc. hrg.), 4-4244 through 4-4248 (Hrg. Decisions,
Record, Review, and Appeal), 4-4252 (disc. detention), 4-4255 (disc. detention review)
3-ALDF-3C-01 through 3-ALDF-3C-22 (rules and discipline, adult local detention
facilities); the most recent version of RIDOC policies 5.01 DOC, Management of Semi-
Active and Archival Records; 9.36 DOC, Substance Abuse Testing, Sanctions, and
Treatment for Inmates Under RIDOC Supervision; 13.10 DOC, Inmate Grievance
Procedure; 15.01 DOC Classification Process; 18.43 DOC, Health Evaluation of Inmates
in Administrative or Disciplinary Confinement; 20.01 DOC, Inmate Furloughs; Sandin v.
Conner, 515 U.S. 472 (1995); Superintendent v. Hill, 472 U.S. 445 (1985); Lewis v. Casey,
516 U.S. 804 (1996)

 

 

 

 

INMATE/PUBLIC ACCESS? X YES

 

 

AVAILABLE IN SPANISH? X YES

 

L PURPOSE:

To establish procedural guidelines for the operation of a code of inmate discipline that
maintains order and furthers the rehabilitation of inmates.

 
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I. POLICY:

A. The Rhode Island Department of Corrections (RIDOC) has established a code of
inmate discipline that is fair, impartial, and constitutional. This Code:

L places inmates on notice of prohibited conduct involving institutional safety,
security, and order in the facilities;

2. establishes guidelines and procedures to address inmates who fail to comply
with rules of conduct; and

3. defines the process of determining allegations of misconduct and sanctions
for violations of the Code.
B. All disciplinary actions are timely, impartial, and consistent. Sanctions are

proportionate to the seriousness of offenses.

C. Notification
1. Employees - Supervisors will ensure each employee who has direct contact
with and/or decision-making authority over members of the offender
population [hereinafter referred to as inmate(s)] has access to this policy.
2. Inmates

a. The policy will be available in each facility’s inmate law library and

in inmate living areas.

b. Inmate orientation sessions will include information about this
policy’s major provisions.

C. Each facility’s inmate handbook will:
(1) direct inmates to familiarize themselves with this policy; and

(2) specify the location(s) where this policy may be found.
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Il. PROCEDURES:

A. Definitions

iE, Formal discipline - those disciplinary infractions that warrant a sanction of
loss of good time in addition to either loss of privileges or punitive

segregation.

2. 2-Nighter - an administrative loss of institutional privileges for a period of
forty-eight (48) continuous hours.

a. The continuous hours begin at the time the inmate signs the waiver
of his/her right to appear before a Hearing Officer and thereby
accepts the 2-nighter.

b. There will be no loss of good time in connection with an inmate’s
acceptance of a 2-nighter.

G At the discretion of the Warden/ designee the inmate may be granted

the following privileges:

(1) Visits (attorney and RIDOC clergy of record are allowed);

(2) Telephone (attorney calls are allowed)

(3)  Furloughs

(4) — Recreation

(5) Core on-grounds or off-grounds classes, school, and
employment

(6) Televisions, radios and/or other electronic device
NOTE: May require removal from communal living area to
cell for duration of 2-nighter.

(7) Library - when inmate is a party to ongoing legal action

covered by Lewis v. Casey, 516 U.S. 804 (1996);

3: Category 1 Contraband ~ items that are unauthorized for inmate possession
and/or violate state/ federal law or RIDOC policy or other items that may
pose a direct threat to security.
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4. Category 2 Contraband - items that are authorized for inmate possession,
but in limited quantities. Items not obtained through proper channels or
more than the authorized amount but not necessarily a threat to institutional
security. Please refer to the most recent version of RIDOC Policy 14.03 DOC,
Inmate Property Accountability.

5. Charging Employee - includes, but is not limited to, any person having the
care, custody, and/or control of an inmate. (Example: A lieutenant receives
a report from a volunteer that an inmate was verbally abusive during a
program. After investigation of the incident, the lieutenant may initiate a
booking).

6. Disciplinary Confinement - a form of temporary separation from the general
population for those inmates who are found guilty of serious disciplinary
infractions; place of confinement to be designated by the Warden/ designee;
duration is commensurate with the seriousness of the offense, consistent
with RIDOC’s Discipline Severity Scale; includes a loss of privileges and loss
of good time.

7. Loss of Privileges (LOP) - temporary loss of specified privileges and loss of
good time, not to exceed fifteen (15) days, for those inmates who are found
guilty of moderate or low moderate disciplinary violations, consistent with
RIDOC’s Discipline Severity Scale;

a, inmates remain in general population housing;

b. loss of privileges (LOP) is determined by the Hearing Officer and is
subject to the discretion of the Warden/ designee, consistent with the
inmate’s status and domicile area/ facility and may include loss of:

(1) _ Visits (attorney and RIDOC clergy of record are allowed);
(2)  Furloughs;

(3) Recreation;

(4) | On-grounds classes, school, employment, and library (library
exceptions: inmate is a party to ongoing legal action covered
by Lewis v. Casey);

NOTE: Warden/designee must approve continued
participation in off-grounds classes, school, and/or
employment.
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B.

(5)

(6)
(7)

Discipline Code:

Out-of-cell time, except for meals and/or to seek medical
care;

Televisions, radios and/or other electronic devices;

Telephone, except to attorney (with prior approval and
limited to one (1) call per week).

NOTE: This may include loss of telephone personal
identification number (PIN) for a period of time to be
determined by the Hearing Officer. Suggested sanctions:

(a) First offense: 5 days;

(b) Second offense: 10 days;

(c) Third/subsequent offense: 15 days.

1. General Provisions
a. Classes of Offenses: There are four (4) classes of offenses.
(1) Class 4 - Low Moderate
(2) Class 3 - Moderate
(3) Class 2- High
(4) Class 1 - Highest

(a) Predatory

(b) Non-predatory

NOTE: See Attachment 1, RIDOC Discipline Severity Scale, for
specific offenses, listed by Class.

b. In any action under this Code, there are six (6) mandatory steps for
all formal disciplines:

(1)

Initial Booking Report;
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(2)
(3)
(4)
(9)
(6)

Superior Officer / designee review;
Notice to the inmate;

Hearing before a Hearing Officer;
Record;

Notification of inmate’s ability to appeal.

CG List of Possible Sanctions

(1)

(2)

Officer Level Sanction (No Hearing Required)

(a) Verbal Warning
(b) 2-Nighter
(c) Extra Work Detail in lieu of discipline

Hearing Officer Level Sanctions

(a) Verbal Warning

(b)  2-Nighter

(c) Loss of Visits / Visiting Period
(d) Loss of Telephone

(e) Loss of Job

(f) Loss of Commissary -except essential items
(g) Loss of Kiosk

(h) Loss of Television

(i) Loss of Radio

(j) Loss of Weekend Movie

(k) Loss of Media Player (MP4)

(1) Loss of Recreation Period(s)
(m) Removal from Programming
(n) Restitution

(0) Loss of Privileges

(p) Disciplinary Confinement

d. Waiver of Disciplinary Report for Class 4 Offenses

(1)

Class 4 (Low Moderate) offenses may be resolved by the
reporting employee as follows:
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(2)

(3)

(4)

(5)

(6)

(a) |Anemployee observing Class 4 violations handles such
incidents tactfully and firmly and has two options
available that do not involve discipline

(i) | warning and counseling the inmate in a stern
but professional manner; and/or

(ii) allowing the inmate to complete additional
work detail in lieu of disciplinary action

(b) If the employee considers the imposition of discipline
necessary for a Class 4 offense, s/he may, at his/her
discretion, present the inmate with the option of:

(i) administrative loss of institutional privileges for
a period of two (2) nights, referred to as a 2-
nighter (defined in Section III-A); or

(ii) a written charge and subsequent appearance
before a Hearing Officer.

The charge and disposition are presented to the inmate as
soon as reasonably possible.

The inmate executes a signed waiver of his/her right to
appear before the Hearing Officer.

NOTE: If such waiver is obtained, the administrative penalty
commences immediately.

The inmate is given a copy of any waiver of the right to appear
before a Hearing Officer s/he executes and the records of any
punishment resulting therefrom.

If an inmate requests an appearance before a Hearing Officer
on a Class 4 offense, the inmate shall not be confined to
his/her cell pending said appearance.

If the inmate is subsequently found guilty, punishment
beyond a 2-night loss of institutional privileges may be
imposed - up to five (5) days loss of specified privileges
within inmate’s classification (commonly known as LOP
defined in Section III.A).
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(7)

(8)

e, Limits

Whenever a Hearing Officer imposes LOP, there is a
corresponding loss of good time.

NOTE: A Loss of Privileges finding must be entered into the
Inmate Facility Tracking System (INFACTS) as discipline.

The inmate may be presented the aforementioned choice of
waiver of Disciplinary Report for Class 4 offenses only once
(1x) every seven (7) days. The written notice of choice informs
the inmate that any additional Class 4 violations during that
period require a disciplinary hearing.

Any imposition of discipline (disciplinary confinement and/or loss of
privileges) is for a definite period of time.

(1)

(2)

Class 4 - Low Moderate - discipline less than disciplinary
confinement, up to 5 days loss of privileges (LOP)

Except when an inmate is found guilty of an infraction(s)
committed while s/he was serving disciplinary confinement
time or confined in Administrative Confinement. In such
instances, any remaining LOP time may be converted to
disciplinary confinement time, and additional disciplinary
confinement time may be imposed.

Class 3 - Moderate - discipline less than disciplinary
confinement, 3 to 15 days LOP

(a) | When an inmate is found guilty of a Class 3 offense,
arising from separate incidents (on the same or
separate dates), for the third time in any 6-month
period, the sanction for the third offense may be taken
from those authorized for the next higher class of
offense.

(b) Except when an inmate is found guilty of an
infraction(s) committed while s/he was _ serving
disciplinary confinement time or confined in
Administrative Confinement. In such instances, any
remaining LOP time may be converted to disciplinary
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(3)

(4)

confinement time, and _ additional disciplinary
confinement time may be imposed.

Class 2 - High - 1 to 20 days disciplinary confinement

When an inmate is found guilty of a Class 2 offense, arising
from separate incidents (on the same or separate dates), for the
second time in any 6-month period, the sanction for the
second offense may be taken from those authorized for the
next higher class of offense.

Class 1 -- Highest

(a)

Predatory - 31 days to 1 year disciplinary confinement

Class 1, Highest, Predatory is a category of Class 1
offenses. Because of the severity of predatory offenses,
the range of disciplinary confinement imposed by a
Hearing Officer for this category of offense (Class 1,
Highest, Predatory) is thirty-one (31) days to one (1)

year.

(i)

(i)

In order for the Hearing Officer to impose more
than thirty (>30) days disciplinary confinement,
however, the offense for which the inmate is
found guilty must have caused serious injury,
immense damage, or posed a severe threat to
institutional or public safety. When imposing
disciplinary confinement for predatory
infractions, the Hearing Officer imposes a
sanction that is commensurate with the injury,
damage, or threat to institutional or public
safety for which the inmate was found guilty.

A post-hearing review process, explained in
detail elsewhere in this policy (Section III.D.12.),
is in place for inmates who receive more than
thirty (80) days disciplinary confinement for any
single infraction.

NOTE: Inmates lose one day of previously earned
good behavior time for each day of disciplinary
confinement.
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(b) Non Predatory - 10 to 30 days disciplinary confinement

The Hearing Officer imposes 10 - 30 days disciplinary
confinement when an inmate is found guilty of a Class
1, Highest, Non-Predatory offense.

Cc Formal Disciplinary Process (excluding 2-nighters based on waiver of discipline

process)

is Booking Report by Charging Employee

a. Disciplinary Report: The formal disciplinary process begins with the
initiation of a Disciplinary Report in INFACTS by a staff member
upon detection of a violation of the Code of Inmate Discipline.

(1) | The charging employee submits a Disciplinary Report (written
charge as entered in INFACTS) to the Superior Officer as soon
as possible after the alleged violation occurs.

(2) The Disciplinary Report must show, in writing, the inmate's
name; RIDOC inmate [.D. number; housing/work
assignments; time, date, place, and charge (known details
concerning the alleged violation); and identifies the employee
initiating the report (charging employee). Said employee
ensures that the “Inmate Security”, “ Area/Cell”, and “Inmate
Job Code” fields contain correct information. If not,
appropriate corrections are made.

(a) In most instances/circumstances, the “charging
infraction” is a single infraction. If more than one
infraction occurs during a single incident, the charging
infraction is the most serious one.

Example #1: Inmate Jones is loud and boisterous in the
dining room. When told to quiet down by the CO on
duty, he throws his food tray onto the floor. When the
CO approaches Inmate Jones, he assaults the Officer.

The “charging infraction” is the assault on a CO.

The “description of infraction” includes details of the
inmate’s behavior, other infractions (loud and
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boisterous behavior and throwing food tray), whether
the inmate was warned, etc.

Example #2: During a cell search, numerous adult
magazines, underwear beyond the allowed quantity,
and another inmate’s radio are found.

The “charging infraction” is possession of category 1
contraband (items that are unauthorized for inmate
possession - the magazines and the radio).

(b) | Under extenuating and serious circumstances and at
the discretion of supervisory personnel, multiple
bookings may result from a single incident.

Example: The same cell search yields both illegal drugs
and a weapon. The inmate is subject to separate
Disciplinary Reports and possible criminal charges.

b. A Correctional Officer may take immediate custody of an inmate
being charged with a disciplinary infraction, if such action is deemed
necessary by the Officer to avoid assault or serious disorder.

(1) However, only the Warden, Deputy Warden, a Superior
Officer, or a member of one of RIDOC’s investigatory units
[Office of Inspection (OT) or Special Investigations Unit (SIU)}
may determine that an inmate should be placed on a restricted
status fie, locked and fed-in (LFI) or other status as
determined by facility design] if necessary to maintain the
safety and security of the facility.

(a) | Such detention occurs only when it appears the inmate
represents a threat to him/herself or to others, or to the
security or order of the institution.

(b) The Superior Officer who determines whether
detention prior to an investigation and hearing is
necessary, makes a written report and his/her decision
is subject to review by the Warden/ designee.

(c) | Such detention lasts only as long as the circumstances
requiring it remain in effect, and in no event will an
inmate be detained without a hearing (ie., locked and
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fed in pending an investigation) beyond the next
disciplinary hearing date without Warden/designee’s
approval.

(2) If an immate is locked up pending an investigation and
disciplinary hearing, such detention is not in the disciplinary
confinement area unless required for the security or safety of

 

the institution.
2: Review by Superior Officer / Designee
a, Unless the incident requires further investigation, a written copy of

the charge is transmitted within 24 hours of the incident (excluding
weekends and holidays) (e.g., posted to a “To Be Reviewed” folder or
clipboard) by the Correctional Officer or charging employee to the
reviewing Superior Officer / designee on duty at the time.

b. At or near the beginning of his/her shift, the Shift Commander or
designated reviewing Superior Officer reviews all [NFACTS
Disciplinary Reports marked “awaiting review”. The purpose of this
review is to ensure completeness and accuracy, and to verify:

(1) the report is comprehensive and includes answers to the
questions: who, what, when, where, and how;

(2) identification is accurate, and includes proper spelling of
inmate’s name and ID number;

(3)  inmate’s date of birth;

(4) date and time of infraction;

(5) inmate’s job assignment, if applicable;
(6) infraction for which inmate is charged;
(7)  infraction’s numerical code;

(8)  inmate’s quarters assignment;

(9) place of infraction;
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(10) the charging offense is consistent with the description of the
incident;

(11) the charging employee’s name

c When the infraction is substance abuse-related, the Superior
Officer/designee determines whether it is a first, second, or
third/subsequent offense.

Once a Superior Officer/ designee validates a substance abuse-related
booking, s/he notifies SIU in writing, on the next business day, via
the pre-shift report.

In cases involving positive urine tests, a copy of the urinalysis report
must be attached to the Disciplinary Report.

d. The reviewing Superior Officer conducts a preliminary review of the
matter without unnecessary delay. The review may include
interviews with the charging employee, inmate charged, and any
other employee(s) or inmate(s) indicated. The reviewing Superior
Officer conducts any further inquiry deemed necessary.

e. The reviewing Superior Officer enters his/her recommendation to
either dismiss or proceed with the Disciplinary Report in INFACTS
and gives appropriate notice to the inmate being charged with the
violation.

(1) Behavioral Health Services staff checks INFACTS (Discipline
Menu - Awaiting Hearing Report) on a daily basis for all
disciplinary reports issued in their respective facilities.
When an offender has committed an infraction which could
result in placement in disciplinary confinement, and where
Behavioral Health Services staff believes an inmate’s mental
health status may have contributed to his/her receiving a
Disciplinary Report, that Behavioral Health Services staff
person consults the Clinical Director/Psychologist, or in
his/her absence, the Behavioral Health Services staff
member designated to provide clinical coverage. Based on
discussion with the Clinical Director/Psychologist (or in
his/her absence, the Behavioral Health Services staff
member designated to provide clinical coverage), the
Behavioral Health Services staff person shall then approach
the facility Warden to discuss whether the misconduct was a
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result of symptoms of mental illness and/or to what extent
the sanction interferes with an offender’s treatment or
recovery plan.

(2) The Warden/designee may:
(a) dismiss the charge;

(b) review the case with Behavioral Health Services staff
to determine the extent to which an inmate’s mental
health status influenced his/her behavior;

NOTE: When the Warden/designee reviews a
Disciplinary Report with Behavioral Health Services
staff to make such a determination, the following
questions/ criteria should be considered:

(i) Did the inmate’s mental health status
contribute to the infraction?

(ii) | Is the inmate able to understand the charge
and hearing process?

(iii) Is the charge appropriate, given the inmate’s
mental health status?

(iv) Are the behaviors subject to disciplinary
charges directly related to the inmate’s mental
status?

For example, an inmate who has made a
serious suicide attempt, as determined by
Behavioral Health Services staff, should not be
disciplined for self-mutilation, possession of a
weapon, destroying State property, etc. if these
charges are also related to the inmate’s mental
status at the time of the infraction.

(c) refer the matter for hearing.

f. Criminal Proceedings: Proceedings under any criminal code against
an inmate shall not cause the delay of proceedings under this Code.
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Any dismissal, nolo, or not guilty verdict in criminal proceedings
shall not affect action under this Code. Any serious criminal offense
shall be reported to RIDOC’s SIU and/or OI for investigation and
appropriate action.

g. The Superior Officer provides a copy of the informational/review
package to the Hearing Officer on the day of the hearing. This is
typically generated through the Disciplinary Reports feature in
INFACTS, but it is the responsibility of the reviewing Superior
Officer to provide the Hearing Officer with any applicable Incident
Reports or evidence.

3. Notice to the Inmate

a. The Superior Officer orally informs the inmate of the charge against
him/her and delivers a copy of the Disciplinary Report (Parts I and II
completed) to the inmate no later than one (1) day after filing the
charge, at least twenty-four (24) hours prior to the hearing.

b. The Superior Officer also asks whether the accused inmate desires a
Counselor and records the inmate’s response on the Disciplinary
Report.

4, Inmate Counselors

a. An Adult Counselor, assigned by the Warden, Counseling Services
Coordinator, or designee, is scheduled to be on duty at the time of the
hearing.

b. The Adult Counselor meets with the inmate prior to the hearing and
assists the inmate in understanding the disciplinary process, the
charges against him/her and the appropriate ways to make a
presentation at a formal disciplinary hearing.

C An inmate’s refusal of an Adult Counselor’s assistance must be
documented.

5: Defense Preparation

An accused inmate is allowed a minimum of twenty-four (24) hours, from
notice of disciplinary action to hearing, to prepare a defense. An inmate
may waive the 24-hour period. The Superior Officer conducting the review
documents such a waiver on the Disciplinary Report.
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6. Disciplinary Hearing Before a Hearing Officer

a. Hearing Officer

(1) The Warden/designee appoints a supervisory employee as a
Hearing Officer who coordinates the disciplinary functions of
the facility and ensures the facility complies with this Code, to
include conducting two (2) hearing sessions per week, with at
least two (2) days between each session.

NOTE: In the event of short staffing, disciplinary hearings
have priority over other institutional operations.

(2) S/he is responsible for the processing and distribution of all
records and reports required under this Code unless s/he
expressly delegates this responsibility to another individual.

(3) Any employee who initiates a Disciplinary Report,
investigates/reviews the charging employee's report, or is
listed as a witness on the Disciplinary Report is not eligible to
be the Hearing Officer who hears that case.

(4) The Hearing Officer ensures the Disciplinary Report is
brought to hearing in accordance with the timeframes
established in this policy and ensures the inmate, Adult
Counselor, if any, witness(es), evidence, and appropriate
forms are available at the scheduled hearing.

b. Appearance of the Accused: An accused inmate shall be present at
his/her disciplinary hearing:

(1) unless the inmate declines to appear;

(2) unless the inmate's behavior gives cause for exclusion or
removal (NOTE: Such behavior must be documented on the

Disciplinary Report);

(3) | except when confidential information is presented as
described below, and/or

(4) except when the Hearing Officer recesses for deliberation.
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NOTE: The absence of an accused inmate [and the reason(s) for
his/her absence] must be documented on the Disciplinary Report
and verbalized on the recording of the hearing. In all such cases,
review by the Warden/ designee is automatic.

e. Continuance: At the request of the inmate, and/or for good cause
shown, a disciplinary hearing may be continued to the next hearing
date at the discretion of the Hearing Officer. The Hearing Officer
records the reason(s) for any continuance. Not more than two (2)
continuances may be granted,

d, Plea: The Hearing Officer reads the charge as it appears on the
Disciplinary Report and fully explains it.

(1) ‘The inmate admits or denies the charge.

(2) If the inmate wishes to plead “guilty” to the charge, the inmate
shall so state.

S/he may choose to plead “guilty with an explanation”.

(3) If criminal charges are being considered, the Hearing Officer
so advises the inmate.

(4)  <Aplea of “not guilty” is entered by the Hearing Officer if the
inmate refuses to plead or is not present.

e. Witnesses

(1) At the discretion of the Hearing Officer, an accused inmate has
an opportunity to present a reasonable amount of witness
testimony at his/her disciplinary hearing.

(2) If an inmate does not request witnesses, the Hearing Officer
ensures the record accurately reflects that fact.

(3) The Hearing Officer has authority to include/exclude any
person as a witness, limit the testimony of any witness which
is redundant or irrelevant, and order the presentation of any
documents or evidence necessary for the conduct of a

disciplinary hearing.
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(4) The Hearing Officer may exclude or eject from the disciplinary
hearing any person whose behavior poses a threat to an
orderly hearing or jeopardizes the safety of any person. (The
Hearing Officer determines the hearing requirements to
ensure a professional proceeding.)

(5) The Hearing Officer documents any denial of witnesses.

f. Evidence

(1) | Evidence may be physical evidence, urinalysis reports, a
written statement or document, and/or oral testimony.

(2) | Copy(ies) of urinalysis report(s) are provided to the inmate at
the time s/he is given the Disciplinary Report.

(3) Physical evidence is presented at the hearing, whenever
practicable, as determined by the Hearing Officer. Otherwise,
a sample, photograph, laboratory test, or written description
of the evidence is presented.

g. Recordings

The hearing must be recorded. Any recordings made are the property
of the Rhode Island Department of Corrections and not released
except for administrative or judicial review. Wardens ensure the
recordings are securely stored at the facility for a period of at least
four (4) years after the date of the disciplinary hearing.

h. Presentation of the Case

(1) The Hearing Officer begins the hearing by reading the
statement of charge (infraction) on the Disciplinary Report;
identifying him/herself, the inmate Counselor and the inmate,
the charge, etc; reviewing the results of the review conducted
by the Superior Officer; calling any witnesses; and presenting
any evidence available.

(2) The Hearing Officer may question the inmate and others as
necessary.

(a) All questions are asked in the presence of the accused
inmate, except when the source of the information
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must be protected or there is reason to believe the
accused inmate's presence will be disruptive or
intimidating to any witness.

(b) In those cases, the Hearing Officer documents the
nature of the information.

i. Confidential Information

(1) Information which is material to the allegation of misconduct
may be exempted from disclosure if it places another person
in jeopardy or compromises security.

(a) If the charging employee believes documentary or
testimonial information should be exempted from
disclosure, s/he presents the information and an
assessment of its credibility to the Hearing Officer
outside the presence of the accused inmate and the
inmate's Adult Counselor.

(b) The charging employee is not required to disclose the
source of the confidential information to the Hearing
Officer.

(2) The Hearing Officer’s determination must be based upon
some evidence to support the findings made in the

disciplinary hearing. [Superintendent v. Hill, 472 U.S. at 445
(1985)}.

(a) At the very minimum, the charging employee must
report that the information has been specifically
corroborated on all specific material points.

(b) The Hearing Officer reaches a reasoned conclusion that
the information obtained from a confidential source is
reliable and, therefore, likely to be true.

(c) The Hearing Officer makes a record of his/her
assessment/ determination. This record need not be
provided to the inmate if it might identify the
confidential source of the information, but must be
preserved and made available to any reviewing court.
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(3) If the inmate is found guilty of the offense, the Hearing Officer
states, in writing, a summary of the information, an
assessment of its reliability, and why it is exempt from
disclosure. This statement is maintained in a file (as
determined by the Warden/designee) which is not accessible
to any inmate.

(4) If the Hearing Officer determines information is not
confidential, s/he may proceed with the hearing or may
continue the hearing, at the request of the Hearing Officer or
the inmate, to allow the accused inmate time to prepare a
defense.

j. Rebuttal: The accused inmate, through his/her Adult Counselor,
may pose a reasonable number of questions to witnesses or rebut
evidence and information presented at the disciplinary hearing
subject to constraints imposed by the Hearing Officer. The Hearing
Officer constrains the rebuttal if it is irrelevant, redundant, or
disrupts an orderly hearing.

k, Defense: If the accused inmate thinks the charge against him/her is
untrue (in whole or in part), s/he may present information available
to him/her and others. Said presentation includes the right to call a
reasonable number of witnesses, both adverse and favorable, and
examine said witnesses consistent with Section III.C.6.e. of this policy.
Inmates are not permitted to have legal counsel or any representative
other than a RIDOC Adult Counselor present at a disciplinary
hearing.

1. Substitute Charge:

(1) A charge may be substituted by the Hearing Officer at the
same, higher or lower level (class) if it becomes apparent the
original charge is inappropriate

(a) The Hearing Officer may substitute a charge during the
hearing by informing the accused inmate of the
substitute charge and taking a plea.

(b) A substitute charge renders the original charge
dismissed,
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(c) If the accused inmate pleads “not guilty” to the
substitute charge, a continuance may be granted upon
the request of either the Hearing Officer or the accused
inmate to allow more time for further investigation or
defense preparation.

(2) The Hearing Officer may also find the accused inmate guilty
of a lesser charge or violation of rules than was originally
written.

7. Expedited Disposition: The disciplinary process may be expedited when an
accused inmate's release is imminent or when circumstances require the
inmate be urgently transferred and it is not practical to conduct a hearing at
the receiving facility. In such cases, an accused inmate must receive the
Disciplinary Report, be afforded a chance to prepare a defense including
naming witnesses, receive the services of a Adult Counselor if desired, and
any hearing must be in conducted in accordance with this Code.

8. Transferred Inmate's Disciplinary Process: If an accused inmate is
transferred prior to disposition of a Disciplinary Report, a Hearing Officer
from the sending facility (where accused inmate received the Disciplinary
Report) conducts the hearing at the receiving facility (where inmate is
serving disciplinary confinement).

9, Decision:

a. Upon completion of the hearing, the Hearing Officer takes the matter
under advisement.

b. The Hearing Officer decides the case on the basis of the hearing
record.

C Options Available to Hearing Officer:
(1) Dismissal of charge
(2) Finding of guilt
(a) Issuance of reprimand - Only Class 3 and 4 Offenses.

(b) | Recommendation/Referral to Classification Board for
review of classification status.
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(c) | Temporary loss of specified privileges within inmate's
classification.

(d) One (1) day to one (1) year in disciplinary confinement,
depending on the class of offense.

(e) Restitution (for willful disfigurement, damage, and/or
destruction of state property) (See Section IILF. of this
policy.)

(f} Loss of visits.
(g) | Any combination of (a) through (f) above.

(3) Substance Abuse-Related Offenses: Consistent with the most
recent version of RIDOC policy 9.36 DOC, Substance Abuse
Testing, Sanctions, and Treatment for Inmates under RIDOC
Supervision, any offense that is substance abuse-related
results in suspension of an inmate's visiting privileges (except
for attorneys and clergy), as follows:

 

 

 

 

 

 

 

 

Substance Abuse- Suspension of # Days
Related Offense Visiting Privileges | Disciplinary
Confinement
1st 30 days 21-23
ana 6 months 24-26
3rd and subsequent 1 year 27-30
d. All substance abuse-related discipline(s) incurred by an inmate since

the first day of his/her current period of incarceration or current
sentence (including sentences to Home Confinement and including
infractions which occurred prior to this policy’s effective date) are
considered when determining whether an inmate is a first, second,
third, or subsequent violator/ offender.

e. When a Parolee violates the terms/ conditions of his/her parole and
is returned to the Adult Correctional Institutions (ACI), positive
substance abuse tests (ie., “dirty urines”) associated with his/her
current period of incarceration or current sentence which s/he
incurred prior to release on parole, are counted when determining
whether the parole violator is a first, second, third, or subsequent
substance abuse violator / offender.

 
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if The Hearing Officer immediately informs the inmate of his/her

decision and any sanction imposed.

g. The Hearing Officer completes the section of the Disciplinary Report
that specifies the infraction for which the inmate was found guilty
and its corresponding code number.

10. Disciplinary Hearing Results:

a. The Hearing Officer/designee ensures the results of the disciplinary
hearing are entered into INFACTS as soon as possible following the
hearing.

b. Disciplinary hearing results are entered into INFACTS and are
accessible/available to the following individuals for appropriate
action:

(1) | Warden/designee (original);

(2) Associate Director of Classification/designee (to ensure
Classification receives timely notice of all recommendations
for changes in status, i.e., downgrades);

(3) | Records and Identification (if not appealed).

NOTE: Copies of disciplinary hearing results are forwarded to
affected inmates and affected staff for appropriate action (e.g., for
filing in affected inmates’ files).

G The Warden/ designee may:
(1) order further proceedings; or

(2) reduce or suspend any result of the disciplinary hearing
unfavorable to the inmate.

11. Parole: Counseling staff notifies the Office of the Parole Coordinator of any
inmate who has been voted to Parole and is found guilty of a Class 1
(Predatory or Non-Predatory) and/or Class 2 disciplinary offense for which
the inmate received ten or more (>10) days worth of sanctions. The Parole
Coordinator or designee refers the matter to the Parole Board Chairperson
for reconsideration.
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12. Review of Hearing Officer’s Decision by Warden/ Designee:

a. Whenever an inmate is found guilty of an infraction at a hearing
held in said inmate’s absence, review by the Warden/designee is
automatic.

In the event the inmate requests a review by the Warden/ designee,
the Hearing Officer indicates (checks off) that the inmate made the
request for review on the Disciplinary Report itself.

 

b, 30 Days Disciplinary Confinement or Less - inmates must submit
written requests for review within five (5) working days of the
disciplinary hearing.

(1) Inmates must submit written requests for review of Hearing
Officers’ decisions to the Warden/ Deputy Warden.

(2) The Warden/designee responds to the inmate request for a
review of the Hearing Officer’s decision within five (5)
working days of receiving such request.

(3) The Hearing Officer makes it clear to the inmate that s/he
may request assistance from his/her Counselor or any other
individual(s) approved by the Warden/designee when
preparing his/her written request.

CG More Than 30 Days Disciplinary Confinement

(1) Whenever an inmate is found guilty of a Class 1, Highest,
Predatory offense, s/he receives more than thirty (>30) days
disciplinary confinement for that single infraction.

(2) In all such cases, review by the Warden/designee is
automatic.

In the event the inmate requests a review by the
Warden/ designee, the Hearing Officer indicates (checks off)
that the inmate made the request review on the Disciplinary
Report itself.

(3) | While inmates who receive more than 30 days disciplinary
confinement for a single Class 1, Highest, Predatory offense
 

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(4)

(9)

(6)

(7)

are not required to submit written requests for review, they
are strongly encouraged to submit their written comments
concerning the incident to the proper reviewing authority
within five (5) working days of receiving the Hearing
Officer’s decision, (Monday - Friday, excluding holidays,
Saturdays, and Sundays).

 

Inmate’s Written
Comments Concerning
the Incident to be
Submitted to:

Disciplinary Confinement
Imposed for a Single Class 1,
Predatory Infraction

 

Warden/ designee

31 days - 3 months (Deputy Warden)

 

Warden/ designee
(Deputy Warden)

If denied by Warden
/Designee, to Assistant
Director Institutions and
Operations

3 months and 1 day - 1 year

 

 

 

 

The Hearing Officer makes it clear to the inmate that s/he
may request assistance from his/her Counselor or any other
individual(s) approved by the Warden/designee when
preparing his/her written comments.

As stated above, the inmate must submit his/her written
comments within five (5) working days of receiving the
Hearing Officer’s decision, (Monday through Friday,
excluding holidays, Saturdays, and Sundays).

The Warden/designee responds (in writing) within fifteen
(15) calendar days of receipt of the request for review, and
disposition is suspended during this period, except where the
safety, security, and good order of the facility may be
adversely affected.

If the Warden/ designee upholds the decision, or the sanction
remains higher than ninety (90) days following the
Warden’s/designee’s review, s/he forwards all pertinent
information to the Assistant Director Institutions and
Operations (ADIO) for review.
 

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NOTE: This expanded review process applies to Class 1
Predatory infractions resulting in sanctions of 3 months and 1
day to one (1) year of disciplinary confinement only after the
Warden’s/designee’s review. Disposition is not suspended
during this time.

(8) | The ADIO responds to the inmate (in writing) within twenty
(20) working days of receiving the information from the
Warden/ designee.

d. If the ADIO is also in agreement with the Hearing Officer’s decision,
the decision is approved and ordered.

The ADIO must find that some evidence in the record supports the

conclusion reached by the Hearing Officer [Superintendent v. Hill,
472 U.S. 445 (1985)].

é. If the Warden/designee or ADIO does not agree with the Hearing
Officer’s decision, s/he may order further study, review, and/or
hearing; substitute an infraction at the same or lower (underscoring
for emphasis) level (class); amend the charge; alter or suspend the
sanction; or dismiss the Disciplinary Report.

f. The inmate is notified in writing of any change resulting from the
review process.

g. Following final review/ decision, information is available to Records
and Identification staff in INFACTS.

NOTE: Copies of final reviews/ decisions are forwarded to affected
inmates and affected staff for appropriate action (e.g., for filing in
affected inmates’ files).

13. Long-Term Disciplinary Confinement

a. Long-term disciplinary confinement [in excess of thirty (30) days]
may result from:

(1) a single, Class 1, Highest, Predatory offense;
(2) multiple Class 1, Highest, Predatory offenses;

(3) multiple offenses from any of the lower classes of offenses.
 

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b. Administrative Review

(1) In addition to the review process described in Section
IlI.C.12.c., the Warden/Deputy Warden of any facility that
houses inmates serving long-term disciplinary confinement
evaluates such inmates every ninety (90) days.

(a) The Warden/designee considers the appropriateness
of continued disciplinary confinement.

i, S/he may recommend to the ADIO that all or
part of an inmate’s remaining disciplinary
confinement be commuted, and the inmate
return to his/her current classification or be
placed on Administrative Restrictive Status
(ARS);

The Warden/ designee may require the inmate
to participate in available programs while on
Administrative Confinement so that s/he
acquires the skills necessary to successfully live
in general population, and ultimately, in
society.

ii. If the inmate’s behavior to date does not
warrant a recommendation to commute all or
part of his/her remaining disciplinary
confinement, the Warden/designee may
suggest to the inmate that s/he comply with a
particular set of conditions (e.g., remaining
“booking free”) for a specified period of time,
resulting in:

(a) limited privileges (eg., program
participation) while serving his/her
remaining disciplinary confinement;

(b) an early review (ie., before the next
regularly scheduled 90-day review).
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iii | The Warden/Deputy Warden may decide the
inmate should remain on his/her current
status.

(2) The Warden notifies the ADIO of the outcome of each
administrative review and the reason(s) for his/her
determination whether or not the Warden recommends a
change in status.

C. Medical Evaluation of Inmates in Long-Term _ Disciplinary
Confinement

(1) | All inmates who are separated from the general population
(for administrative and/or disciplinary confinement) have
access to Health Care Services staff, services, and facilities.

(2) | Consistent with the most recent version of RIDOC policy 18.43
DOC, Health Evaluation of Inmates in Administrative/
Disciplinary Confinement, Wardens/ designees ensure:

(a) | Such inmates are seen by Health Care Services staff at
specified intervals (i.e., nursing staff “trip” disciplinary
confinement areas daily); and

(b) Such encounters are documented in the inmates’
Electronic Medical Records (EMR).

d. Mental Health Evaluation of Inmates in Long-Term Disciplinary
Confinement

Behavioral Health Care staff assessments are made as clinically
appropriate; however, evaluations are conducted by behavioral

health professionals at no less than the following minimum intervals:

(1) On the first business day following an inmate's thirtieth (30%)
consecutive day in disciplinary confinement.

(2) Atleast once every thirty (30) days thereafter or before.

(3) | Such encounters are documented in the inmate’s electronic
medical record (EMR).
 

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NOTE: Staff shall notify Behavioral Health Services staff and
request evaluation if the inmate shows signs of mental illness
and/or deterioration in behavior.

Staff should refer to the most recent version of RIDOC policy
1843 DOC, Health Evaluation of Inmates in
Administrative / Disciplinary Confinement, for more detailed
information.

14. _ Disciplinary Report Numbering System: Each Disciplinary Report being
entered into INFACTS is automatically numbered.

15. Records: Disciplinary Reports are maintained in INFACTS and contain:
a. A summary of all information produced at the hearing, including:
(1) testimony of all witnesses;
(2) written summary of investigation report; and
(3) nature of the testimony and any unidentified informant(s).
b. Physical Evidence Viewed

(1) Ifa Disciplinary Report is generated by or referred to Special
Investigation Unit (SIU) or Office of Inspectors (OI), copies of
any materials used during the hearing are not forwarded with
the original Disciplinary Report. SIU or OI makes evidence
available for review by the Warden/ designee. The decision to
retain or destroy such evidence rests with the appropriate
investigatory unit, in accordance with the most recent version
of RIDOC Policy 9.16 DOC; Procedure for Protecting,
Gathering, and Preserving Evidence.

NOTE: Consistent with Section IIL.C.6.g, recordings of
disciplinary proceedings are maintained for a period of at least
four (4) years.

(2) The Hearing Officer makes his/her assessment of the
evidence, and the evidence is presented to the Warden or
designee during the review process.
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(3) After all materials are reviewed, the physical evidence
remains in the custody of the office in the unit where the
Disciplinary Report was initiated, where it is filed in a secure
area. (For more information, please refer to the most recent
version of RIDOC Policy 9.16 DOC, Procedure for Protecting,
Gathering and Preserving Evidence.)

(4) If it is not practical to retain evidence (needles, razors, etc.),
photographs, and/or written description(s) are substituted.

é. Findings of fact and the supporting reasons for the disposition
decided upon.

d. Rationale for change in_ disposition upon review by
Warden/ designee.

e. If the Hearing Officer finds an inmate "not guilty" or the Disciplinary
Report (booking) is dismissed [including those dismissed for mental
health reasons; see Section III.C.2.e.(2)(a) in this policy], the booking
remains in the INFACTS system for statistical purposes.

16. Technical Mistakes and Serious Process Failures: Technical mistakes in the
disciplinary process, including minor discrepancies in meeting time frames,
are not cause for the reversal or dismissal of a Disciplinary Report. A
serious process failure may result in dismissal by the Hearing Officer,

 

Warden, or ADIO.

a. Technical Mistake - a mistake that does not affect the fairness and
impartiality of the process.

b. Serious Process Failure - a failure that affects the fairness and
impartiality of the process.

Dp; Out-of-State Inmates

For Rhode Island inmates serving their sentences out-of-state, the receiving states
forward their bookings to applicable RIDOC staff (e.g., the Records Unit Office
Manager).

Records Unit staff enters bookings into INFACTS so that affected inmates’ good
time earnings are processed accordingly.
 

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E. Restitution

ie If a RIDOC Hearing Officer finds an inmate guilty of willful disfigurement,
damage, and/or destruction of state property, s/he may order the inmate to
pay restitution based on a written estimate.

2. Whenever restitution is ordered, the inmate receives a copy of the
Restitution Order from the Hearing Officer who found the inmate guilty of
willful disfigurement, damage, and/or destruction of state property and
ordered restitution.

a. A written estimate for materials and labor must be available. The
facility Administrator or designee obtains the estimate from RIDOC’s
Maintenance Unit.

b. Challenge of restitution amount: Inmates may challenge the
reasonableness of restitution ordered to cover the cost of
repair/replacement parts and labor by submitting a written request
to the Warden/ designee.

(1) This challenge does not include the right to obtain and submit
additional or competitive estimates.

(2) Challenges must be submitted within five (5) working days
(weekends and holidays excluded) following receipt of the
Hearing Officer's decision.

3. Collection

a. The Hearing Officer sends the restitution order to Inmate Accounts,
which serves as the collector.

b. Any and all charges against an inmate’s account that are court-
ordered are given priority over restitution.

@ The amount of restitution is deducted from the available (active)
balance in the inmate's account.

d. If the inmate’s available (active) balance is not sufficient to meet the
restitution amount

(1) — All but ten dollars ($10.00) will be withdrawn from the active
account;
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(2) The balance owed is charged as a debt to the inmate’s account;

(3) | One-half (1/2) of all subsequent deposits are used to offset this
debt until the charges are paid in full;

(4) There are no restrictions on the other half of the deposits
beyond normal restrictions.

e. Any debt remaining at the time of an inmate's release from
institutional custody is considered a legal debt and is subject to civil
remedy by the State.

f If this individual returns to institutional custody before repayment of
this debt, his/her inmate account reflects any unpaid debt from prior

incarceration(s).

F, Exceptions:

Any exceptions to the procedures in this policy require prior written approval from
the Director or his/her designee.
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RHODE ISLAND DEPARTMENT OF CORRECTIONS
DISCIPLINE SEVERITY SCALE

This list is not all inclusive. RIDOC reserves the right to charge an inmate with any other offense
prohibited by law or prison rule, at a Category or level to be determined by the Director or his/her
designee.

NOTE: Any attempt, conspiracy, and/or accessory of any offense is coded at the same level on the
Discipline Severity Scale as the actual offense, except where otherwise noted by separate
codes/ offenses for attempt, conspiracy or accessory. Attempt, conspiracy, and accessory are defined

as:

A.

3.

Attempt: Conduct which makes an effort to accomplish an act prohibited by the most recent
version of RIDOC policy 11.01 DOC, Inmate Code of Discipline.

Conspiracy: Agreeing with one or more persons to participate in an act prohibited by the most
recent version of RIDOC policy 11.01 DOC, Inmate Code of Discipline and one of those persons
acts in furtherance of the conspiracy.

Accessory: Assisting a person to commit an act prohibited under the most recent version of
RIDOC policy 11.01 DOC, Inmate Code of Discipline or to hide the evidence that such an act
was committed.

 

  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

_ CLASS 4, LOW MODERATE
Sanction: n: Discipline less than ae ge up to 5 days loss of privileges
a Offense :
CONTRABAND cee
401 Using an authorized item for something other than its intended purpose without any threat to
security (e.g., Possessing or Using Homemade Speaker Cones)
414 | PASSING Category 2 Contraband
415 | POSSESSING Category 2 Contraband
416 | RECEIVING Category 2 Contraband
417 | Taking Unauthorized Food from the Dining Room or Kitchen
: DISOBEDIENCE
402 | Not Making Bunk Properly a
403 | Failing to Display Inmate Identification Badge

 

 

 
 

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404 | Fishing
405 | Littering
406 | Not Being Properly Dressed
410 | Untidy Cell or Room
411 | Not following housing unit/area rules
412 | Poor job performance
413 | Violating Unit/Dorm Rules failing to abide by a published rule
418 | Cutting Any Line (med, infirmary, meal, etc.)
419 | Failing to Shower and Maintain Personal Hygiene
420 | Loitering or Being in an Area Longer than Necessary to Accomplish an Authorized Task
421 | Malingering; Feigning an Illness or Injury
ee CLASS 3, MODERATE
Sanction: Discipline less than disciplinary confinemen
301 | Failing to Report the Presence of Conivaband
305 | Possessing Another Inmate's Identification Badge
306 | Possessing Unauthorized Currency of Five Dollars ($5.00) or Less
346 | Possessing Another Inmate's Legal Material
350 | Excessive commissary items with validation (receipts)
351 | Possession of More Than $35.00 (Work Release inmates)
352 | Possession of More Than $10.00 in Quarters or in Possession of Paper Currency (Minimum Security
inmates)
oe DISOBEDIENCE
S08 | Being in an Unauthorized Area —
309 | Being on a Bed Other Than the One Assigned
310 | Conducting a Non-Criminal Business

 

 

 

  
  
   

 
 

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311 | Cutting Any Line (med, infirmary, meal, etc.)
312 | Disobeying a Lawful Order Not Pertaining to Custody or Control Enforcement (e.g., refusing to
work)
313 | Disorderly Conduct/Disobeying housing unit/area/ behavior rules - any nuisance or annoying
behavior that interferes with the facility's / unit's order
315 | Excessive Kissing and/or Caressing at the Beginning or End of a Visit
316 | Failing to Comply with Count Procedures Within the Confines of a Cell Housing 2 or Fewer Inmates
318 | Failing/Refusing to Comply with Telephone Procedures (e.g., using another inmate's PIN number to
make calls)
319 | Failing to Report to Required Destination without Proper Authorization or Valid Reason
324 | Horse playing; Roughhousing
325 | Making Indecent Gestures
326 Loitering on Tiers, Next to Cells, in Stairways, and/or in Bathrooms
328 | Making any Fraudulent Request (e.g., check request, commissary order, etc.) to Circumvent
Established Rules, Regulations, and/or Procedures
329 | Making Credit Contract in any Form
331 | Misusing Electronic Equipment and/or Computers and/or Related Devices
333 | Obstructing Cell Vents
335 | Refusing to Cooperate in Following a Prescribed Course of Treatment (for example, inmate with
broken hand told to refrain from yard exercise)
336 | Refusing to Submit to Mandatory Medical Testing
338 | Making Unauthorized Contact with the Public
339 | Using any Authorized Equipment or Machinery Contrary to Instructions or Posted Safety Standards
340 | Using Any Equipment or Machinery that is not Specifically Authorized
347 | Failing to Attend Mandatory School/ Program(s)
348 | Purchasing Anything on Credit
349 | Theft of Services (e.g., photocopies, cable TV, or other facility services)
354 ‘| Failing to Comply with Mail Procedures

 

 

 
 

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355 ‘| Failing to Comply with MIN, WR, or Furlough Rules and Regulations
356 =| Forging/ Altering an Institutional Pass
358 | Obstructing Outside Wall Window in Cell (Blocking light entering cell)
SS DISTURBANCE :
342 | Banging or Kicking Cell Door, Bed, or Desk Without Causing Structural Damage :
343 | Making Excessively Loud Noise (e.g., radio, television, shouting, verbal altercations, etc.)
359 | Making an indirect threat
Se _ SEXUAL —
344 Displaying Pornographic Pictures
345 | Sex Offender Registration - Refusing to Provide Required Information (including correct address)
353 | Violation of no-touch policy, (i.e., hand holding, hugging)

 

 

 
 

CLASS Zs HIGH =

    
 

Sanction: 1: -20 0 days disciplinary co

 

 

Code a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

"Offense - ae
6 CONTRABAN D
302 | POSSESSING Category 1 Contraband
203 | RECEIVING Category 1 Contraband
205 | Possessing Tattoo Equipment
206 | Possessing Unauthorized Currency Over Five Dollars ($5.00) (e.g., stamps)
eS DISOBEDIENCE ce
207 | Disobeying a Lawful Order Partaining to Custody and Control Bifonemont ~
208 | Failing to Comply Expeditiously with an Instruction from a Staff Member (Refusing to HALT When
Commanded to do so by a Correctional Employee)
212 | Interfering with the Duties of a Correctional Officer/ Employee by Distraction in a Non-Hostile
Manner
213 | Returning Late from a Furlough
214 | Returning Late from a Job Site (Community Release, Work Release, and Minimum Security Inmates)
215 | Possessing Gang Color Identification or Paraphernalia

 

 
 

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216 | Wearing or Displaying Gang Colors, Identification, or Paraphernalia
217 ‘| Refusing to Comply with Count Procedures in a Dormitory Setting or Room in Which 4 or More
Inmates Reside
218 | Stealing Any Property
219 | Tattooing Oneself or Other(s)
220 | Throwing Any Substance or Object
233 | Being in an unauthorized area, entering/ being in a cell/area other than assigned (one or more
inmates)
234 | Gambling
235 | Giving False Information to Any Correctional Staff
236 | Giving Money or Anything of Value to, or Accepting Money or Anything of Value from a Member of
Another Inmate's Family or Another Inmate's Friend with an Intent to Circumvent Any Facility or
Departmental Rule, Regulation, or Policy, or with the Intent to Further Illegal or Improper Purpose
237 | Giving Money or Anything of Value to, or Accepting Money or Anything of Value from Another
Inmate
241 | Possessing Gambling Paraphernalia
242 | Swearing, Cursing, Using any Vulgar, Abusive, Insolent, or any Other Improper Language Toward
Staff or Visitors
247 | Conduct That Disrupts or Interferes with the Security or Orderly Running of the Facility
248 | Obstructing a Cell Door or Cell Window
MUTINOUS ACT
238 | Mutinous Acts |
240 | Partaking in Group Petition in Any Form
: "SEXUAL
223 | Masturbating with the intent to intimidate others
224 | Writing Correspondence that Contains Amorous Expression and/or Sexual Language to Any Staff
Member
225 | Verbal Statements that Contains Amorous Expression and/or Sexual Language to Any Staff Member
243 | Possession of Pornography of any Kind by Sex Offenders Who Are Required Upon Release to

 

Register With Law Enforcement Agencies Pursuant to RIGL §11-37.1-1 et seq.

 

 
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246 | Violation of no-touch policy, (i.e., kissing, stroking, massaging, rubbing of another person not
genital/ breast / buttocks areas)
VANDALISM — : :
226 | Willfully Disfiguring, Damaging, and/or Destroying Any Part of the Facility or any Materials, Tools,
Machinery, and/or any State Property
VIOLENCE
228 | Making Threatening Gestures (e.g., hand gestures to resemble pulling the trigger of a gun or slicing
someone's throat)
229 | Making Verbal Threats (General threatening statements that are not reported to the Office of
Inspections/ Special Investigations Unit)
230 | Making Racist Comments
231 =| Making Written Threats
232 | Mutilating Oneself (includes bodily piercing)
250 | Fighting (inmate on inmate) that did not involve serious injury (the inmates stopped prior to the staff
having to utilize force)
251 | Provoking a fight or assault with other inmates through actions that are intended to irritate or

 

aggravate other inmates

 

 

GEASS, HIGHEST, NON-PREDATORY

 

_ Sanction:10 -30 days disciplinary confinement

 

  

   

 

 

 

 

 

 

 

 

 

101 Possession or Use of Any Unauthorized Communication Device (not cluding a cell phone)

102 | SMUGGLING Category 1 Contraband INTO the Facility (This includes the conveyance of illicit
substances into the facility for consumption without an organization or attempt to profit from the
incident.)

103 | SMUGGLING Category 1 Contraband OUT of the Facility

158 | Passing Category 1 Contraband

: - ___ DISOBEDIENCE
i04 | Adulteration of Any Food or Drink =~

 

 
 

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105 | Circumventing Telephone Security Procedures (i.e., making unauthorized telephone calls on state
phones or from job site or utilizing telephones for illegal or criminal purposes) (see infraction #318 for
inmate phone use)

107 | Disobeying a Clearly Stated Order in a Manner that Conveys a Deliberate Challenge to Authority and
Jeopardizes the Safety, Security, and/or Orderly Operation of the Facility

108 | Exceeding Assigned Limits of Community Release Without Permission (to include furloughs)

110 | Hiding - being present and out of sight

111 | Interfering With the Duties of a Correctional Officer in a Physically or Verbally Hostile Manner

113 ‘| Offering or Giving a Bribe

114 | Refusing to Comply With a Strip Search

115 | Wearing a Disguise or Mask

154 | Purposely misleading an investigation by RIDOC Office of Inspections and/or Special Investigations
Unit

162 | Obtaining money from another inmate by fraudulent means (Submitting a fraudulent money transfer
slip to obtain money of another inmate)

; DISTURBANCE

117 ‘| Creating a (Collective) Disturbance

118 | Engaging in or Encouraging a Group Demonstration and/or Activities

119 | Absconding From a Non-Secure Facility (e.g., MIN, WOM Dix) ) or a Minimum Security Job Site |
(Unauthorized absence from a facility without a secure perimeter)

120 | Absconding From a Work Release Job Site

121 | Absconding From an Off-Campus Institutional Job (e.g., Litter Crew)

122. | Manufacturing and/or Possessing an Instrument with which to Escape or Tamper with a Security
Device

123 | Possessing a Handcuff Key or Facsimile

124 | Possessing Escape Paraphernalia (e.g., Civilian Clothing, Uniform, etc.)

: MUTINOUS ACT
125 Organizing, Participating in, or Encouraging Activity(ies) that Threaten(s) Order and Security (e.g.,

 

Promoting Racism, Work Stoppage, etc.)

 

 
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126 | Physically Surrounding or Preventing the Passage of Any Staff/ Visitor
127 | Recruiting for a Gang
a 2 OTHER.
153 | Any siolation of local/state/ federal law NOT specifically mentioned elsewhere in this RIDOC
Discipline Severity Scale.
SEXUAL
129 | Making Sexual Proposals or Threats to Another
130 | Willingly Engaging in Sexual Acts with Others (e.g., Sodomy)(violation of no-touch policy)
155 | Fondling Adult Visitor (specifically, the fondling of breasts and/or genitalia)
156 | Indecent Exposure
SUBSTANCE ABUSE
131 Being Intoxicated (by Homemade or Purchased Intoxicants)
132 | Being Under the Influence of Alcohol
133 | Being Under the Influence of Drug(s) that Were Not Prescribed by a Facility Physician and/ or are
Not Authorized Under RIDOC's Keep-on-Person Medication Program
134 | Failing or Refusing to Submit to a Breathalyzer Test
135 | Failing or Refusing to Submit to any Substance Abuse Related Test(s) Deemed Acceptable by RIDOC
Officials. SPECIFY TEST:
136 | Failing or Refusing to Supply a Urine Specimen for Testing
137 | Intentionally Altering a Urine Specimen
160 | Circumventing urine procedures
_ SUBSTANCE POSSESSION
139 Possessing Alcohol ~ ] ~
140 | Possessing Drug Paraphernalia (e.g., Rolling Papers, Needles, Pipes, Syringes, etc.)
141 | Possessing Drugs that Were Not Prescribed by a Facility Physician and/or are Not Authorized Under
RIDOC's Keep-on-Person Medication Program
142 | Possessing Homemade or Purchased Intoxicants
157 | Hoarding Medication

 

 

 
 

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_ VANDALISM —
143 Teng With a Security Device and or Locking Device
144 | Tampering With Fire Alarms, Fire Equipment, and/or Fire Suppressant Equipment
VIOLENCE .
145 ‘| Altering Any Property to Make Any Weapon(s)
146 | Contraband finds of weapons [formerly Possessing Any Weapon(s)]
147 | Possessing Any Flammable/ Explosive Substance(s)
148 | Setting a Fire For Purposes Including But Not Limited to Cooking in Cell, Burning of Incense, etc.
149 | Threatening an Employee or His/Her Family with Bodily Harm (Threats that are investigated and
reported to the Office of Inspections/Special Investigations Unit)
150 | Threatening, Harassing, or Interfering with a RIDOC K-9 or service dog in training
151 | Threatening, Harassing, or Unauthorized Contact with any other person (including, but not limited to
staff members, their families, victims, public officials, law enforcement officers)
152 | Any action that results in unintended physical harm/injury to another person (example: A baseball
bat, that was thrown to the ground in anger following a third strike, bounces off)
159 | Fighting (inmate on inmate) with serious injury resulting
161 | Fighting (inmate on inmate) that did not involve serious injury (fight was part of multiple fight

 

incident or inmates refused to comply with staff commands to stop fighting)

 

 
 

CLASS 1, HIGHEST, PREDATORY ~

    
 

 

: ae Sanction: 31 days - et year disciplinary

 

 

 

 

 

 

 

 

 

 

 

 

‘Offense 2

oe ESCAPE ;
BOE | Becape from Escorted Custody
P07 | Escape From a Secure Facility
P16 | Escape from outside a secure DOC facility
P17 | Attempt, Accessory or Conspire to Escape from outside a secure DOC facility
P18 | Attempt, Accessory or Conspire to Escape from a Secure Facility
P19 | Attempt, Accessory or Conspire to Escape from Escorted Custody

 

 

 
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_ SEXUAL
P20 | Inmate on Civilian completed noreeonsensizal sexual acts
P21 | Inmate on Civilian attempted non-consensual acts
P22 | Inmate on Civilian abusive sexual contact (does not include minor visitors)
P23 | Inmate on Inmate completed non-consensual sexual act
P24 | Inmate on Inmate attempted non-consensual sexual acts
P25 | Inmate on Inmate abusive sexual contact
P26 | Inmate on Staff completed non-consensual sexual acts
P27 | Inmate on Staff attempted non-consensual acts
P28 | Inmate on Staff abusive sexual contact
P29 | Fondling or improper sexual contact with a minor visitor
| | VIOLENCE”
POI Aason - purposely setting fire to ‘ building or property
P02 | Assault with a Weapon on Staff with serious injury resulting
P03 | Assault with a Weapon on an Inmate with serious injury resulting
P30 | Assault with a weapon on Civilian with serious injury resulting
P31 | Assault with a weapon on Staff that did not involve serious injury
P32 | Assault with a weapon on Civilian that did not involve serious injury
P33 | Assault with a weapon on an Inmate that did not involve serious injury
P34 | Assault on Staff that did not involve serious injury
P35 | Assault on an Inmate that did not involve serious injury
P36 | Assault on Civilians (volunteers, interns, visitors, consultants, researchers etc.) that did not involve
serious injury
P37 | Assault on Staff with serious injury resulting (to include assaults by throwing liquid, blood, waste,

 

chemicals and/or urine)

 

 
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P38 | Assault on an Inmate with serious injury resulting (to include assaults by throwing liquid, blood,
waste, chemicals and/or urine)

P39 | Assault on Civilians (volunteers, interns, visitors, consultants, researchers etc.) with serious injury
resulting (to include assaults by throwing liquid, blood, waste, chemicals and/or urine)

P04 | Assault on Staff by throwing substances (to include spitting and/or throwing bodily fluids) that did
not involve serious injury

P05 | Assault on an Inmate by throwing substances(to include spitting and/or throwing bodily fluids) that
did not involve serious injury

P40 | Assault on Civilians (volunteers, interns, visitors, consultants, researchers etc.) by throwing substances
(to include spitting and/or throwing bodily fluids) that did not involve serious injury

P08 | Extortion/ Blackmail - obtaining money, property, or favors from someone by violence or the threat of
violence

P09 | Hostage-taking

P10 | Kidnapping

P12 | Mayhem - Inflicting or Attempting to Inflict Any Injury Which Disfigures, Disables, and/or
Dismembers Another Inmate

P41 | Mayhem-Inflicting or Attempting to Inflict any Injury which Disfigures, Disables, and/or Dismembers
a Staff member

P42 | Mayhem-Inflicting or Attempting to Inflict any Injury which Disfigures, Disables, and/or Dismembers
a Civilian

P13 | Rioting or Inciting Others to Riot

P14 | Robbery - taking property from a person, or in his/her presence, when the taking is by means of
violence or intimidation

P43 | Trafficking In Illicit Substances (Resulting from Investigation, inmate(s) had an organized effort to
convey the substance throughout the facility, or distribute to other inmates, and profit from the
operation.)

P44 | Possession of a cell phone

P45 | Inmate on Inmate Homicides

P46 | Inmate on Staff Homicides

P47 | Inmate on Civilian Homicides

 

 

 
